
PER CURIAM.
This cause is before us on appeal from a final judgment of dissolution awarding appellant lump sum, rather than periodic, alimony. We affirm, noting that the Circuit Court has reserved jurisdiction to modify the judgment. Therefore, appellant will be able to apply for further permanent alimony when, for example, the lump sum installment payments terminate, her health worsens, or the husband’s financial circumstances improve. See Canakaris v. Canakaris, 382 So.2d 1197, 1201 (Fla.1980); Hyatt v. Hyatt, 315 So.2d 11 (Fla.3d DCA 1975).
BOOTH, SHAW and WENTWORTH, JJ., concur.
